          Case 3:19-cv-00772-L-JLB Document 1 Filed 04/26/19 PageID.1 Page 1 of 5




1    CONSUMER ATTORNEY ADVOCATES, INC.
2    Patric A. Lester (SBN 220092)
     pl@lesterlaw.com
3    5694 Mission Center Road, #358
4    San Diego, CA 92108
     Telephone: (619) 665-3888
5    Fax: (314) 241-5777
6
     KEOGH LAW, LTD.
7
     Timothy J. Sostrin (IL 6290807 - PHV pending)
8    TSostrin@KeoghLaw.com
9    55 W. Monroe St., Suite 3390
     Chicago, IL 60603
10   Telephone: (312) 726-1092
11   Fax: (312) 726-1093
12
     Attorneys for Plaintiffs
13
14                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
16   RYAN LEUSCH,                                Case No. '19CV0772 L       JLB

17                              Plaintiff,       COMPLAINT FOR VIOLATIONS OF THE
18                                               TELEPHONE CONSUMER PROTECTION
     v.                                          ACT
19
20   UBER TECHNOLOGIES, INC.,                    JURY TRIAL DEMANDED
21
                                Defendant.
22
23           COMES NOW, Plaintiff Ryan Leusch (hereinafter, “Leusch” or “Plaintiff”) and
24   sues Uber Technologies, (hereinafter, “Uber” or “Defendant”), alleging as follows:
25                                 NATURE OF THE ACTION
26           1.    Defendant placed hundreds of prerecorded robocalls to Plaintiff’s cellular
27   telephone number without his prior express consent in violation of the Telephone
28   Consumer Protection Act, 47 U.S.C.§ 227 (hereinafter, “TCPA”).


                                                  1
                                              COMPLAINT
        Case 3:19-cv-00772-L-JLB Document 1 Filed 04/26/19 PageID.2 Page 2 of 5




1           2.    Plaintiff brings this action for actual damages, statutory damages, and
2    injunctive relief as more fully described herein.
3                                  JURISDICTION AND VENUE
4           3.    This Court has federal question jurisdiction pursuant to 28 U.S.C., §1331
5    and 47 U.S.C. § 227 et seq.
6           4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
7    substantial part of the events or omissions giving rise to the claim occurred in this
8    district.
9                                             PARTIES
10          5.    Plaintiff Ryan Leusch is, and at all times mentioned herein was, an
11   individual citizen of the state of California, residing in Murrieta, CA.
12          6.    Defendant Uber Technologies, Inc. is a Delaware corporation that has its
13   principal office in San Francisco, CA.
14                                            THE TCPA
15          7.    Congress enacted the TCPA in 1991 in response to a growing number of
16   consumer complaints about prerecorded robocalls.
17          8.    Congress enacted the TCPA to prevent real harm. Congress found that
18   “automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of
19   the type of call” and decided that “banning” such calls made without consent was “the
20   only effective means of protecting telephone consumers from this nuisance and privacy
21   invasion.” Pub. L. No. 102-243, §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. §
22   227; see also Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012) (“The Act
23   bans certain practices invasive of privacy”).
24          9.    Consumer complaints about this conduct have only increased since then.
25   “If robocalls were a disease, they would be an epidemic.” Rage Against Robocalls,
26   Consumer Reports (July 28, 2015). “Robocalls” are the #1 consumer complaint in
27   America today and Defendant’s conduct in this case is a good reason why.
28


                                                     2
                                               COMPLAINT
       Case 3:19-cv-00772-L-JLB Document 1 Filed 04/26/19 PageID.3 Page 3 of 5




1                                   FACTUAL ALLEGATIONS
2          10.      At all times relevant herein, Plaintiff was the primary user of the telephone
3    number xxx-xxx-1133, which was assigned to cellular telephone service (“Plaintiff’s
4    Cellphone”).
5          11.      Beginning in or around December 2018, Defendant began placing robocalls
6    to Plaintiff’s Cellphone via an automatic telephone dialing system that was programmed
7    to deliver prerecorded messages to Plaintiff’s Cellphone.
8          12.      Some of the robocalls used a prerecorded voice to convey the following
9    message:
10         “Hi. This call is from UberEats. Your restaurant is receiving an order
11         request, but it hasn’t been accepted. The order can be accepted by clicking
           the blinking section on the ipad. If you are not ready to accept orders right
12         now, please change the status from accepting orders to pause orders. For
13         any issues, please contact our support team. Thank you.”
14         13.      Some of the robocalls used a prerecorded voice to convey the following
15   message:
16         “… Currently unavailable to our customers. Please switch on your ipad and
17         login to the UberEats App. For any issues, please contact our support team.
           Thank you.”
18
19         14.      Plaintiff does not own or operate a restaurant.
20         15.      Plaintiff has repeatedly informed Defendant that he does not own or operate
21   a restaurant and that Defendant’s robocalls are going to the wrong number.
22         16.      Plaintiff has repeatedly asked Defendant to stop placing robocalls to his
23   Cellphone, but Defendant has ignored Plaintiff’s repeated requests.
24         17.      Despite Plaintiff’s repeated requests, Defendant has knowingly and
25   willfully placed hundreds of these robocalls to Plaintiff’s Cellphone.
26         18.      Defendant’s incessant robocalls repeatedly caused Plaintiff’s voicemail to
27   fill up completely, forcing Plaintiff to spend time clearing his voicemail (sometimes on a
28   daily basis) to allow room for messages he actually wanted to receive.


                                                    3
                                               COMPLAINT
        Case 3:19-cv-00772-L-JLB Document 1 Filed 04/26/19 PageID.4 Page 4 of 5




1          19.    Defendant’s incessant robocalls have interfered with Plaintiff’s ability to
2    conduct business, causing frequent and never-ending interruptions to his work.
3          20.    Plaintiff also made numerous attempts to “block” Defendant’s robocalls,
4    but Defendant’s automatic telephone dialing system utilized caller ID spoofing, which
5    prevented Plaintiff from successfully blocking the calls.
6          21.    Specifically, the caller ID on Plaintiff’s cellular telephone would display
7    whatever telephone number Defendant wanted rather than the number that Defendant
8    was actually calling from.
9          22.    Over the course of hundreds of robocalls, Defendant caused dozens of
10   unique telephone numbers to display on Plaintiff’s caller ID.
11         23.    Plaintiff blocked dozens of numbers but that did not prevent the robocalls
12   because Defendant continued to utilize different numbers, thus evading Plaintiff’s
13   attempts to block the calls.
14         24.    Defendant placed many of these robocalls to Plaintiff’s Cellphone during
15   the middle of the night (e.g. 1:00AM – 3:00AM), thereby interrupting Plaintiff’s sleep.
16         25.    In order to avoid the incessant interruption, Plaintiff often felt compelled to
17   turn off his cellphone and smartwatch (which would also notify him of calls) completely.
18         26.    As a result, Plaintiff missed several important communications from family
19   members.
20         27.    Defendant’s robocalls harmed Plaintiff by invading his privacy.
21         28.    Defendant’s robocalls harmed Plaintiff by wasting his time.
22         29.    Defendant’s robocalls harmed Plaintiff by interrupting his sleep.
23         30.    Defendant’s robocalls harmed Plaintiff by causing him emotional distress.
24                                COUNT ONE
25               CALLS MADE IN VIOLATION OF 47 U.S.C. § 227(b)(1)(A)

26         31.    Plaintiff incorporates by reference the foregoing paragraphs of this
27   Complaint as if fully set forth herein.
28         32.    Defendant used an automatic telephone dialing system to make hundreds of

                                                  4
                                               COMPLAINT
       Case 3:19-cv-00772-L-JLB Document 1 Filed 04/26/19 PageID.5 Page 5 of 5




1    telephone calls using a prerecorded voice to Plaintiff’s cellular telephone number in
2    violation of 47 U.S.C. § 227(b)(1)(A).
3          33.    Defendant’s violations were knowing and willful, in light of Plaintiff’s
4    repeated requests that Defendant cease its robocalls.
5          34.    As a result of Defendant’s violations, Plaintiff is entitled to injunctive relief
6    to enjoin further calls to his number. 47 U.S.C. § 227(b)(3).
7          35.    As a result of Defendant’s violations, Plaintiff is entitled to the greater of
8    actual or statutory damages. 47 U.S.C. § 227(b)(3);
9          36.    As a result of Defendant’s knowing or willful violations, the Court may
10   award up to $1,500 in statutory damages per call. 47 U.S.C. § 227(b)(3).
11                                   PRAYER FOR RELIEF
12         WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and
13   against Defendant for:
14      a. An injunction requiring Defendant to cease further calls to Plaintiff’s Cellphone;
15      b. An award of statutory damages in the amount of $1,500.00 for each and every
16         call, but in no event less than $500.00 per call;
17      c. An award of actual damages;
18      d. An award of Leusch’s attorneys’ fees, litigation expenses and costs of suit; and
19      e. Such further and other relief the Court deems reasonable and just.
20                                        JURY DEMAND
21         Plaintiff demands trial by jury.
22
23   Date: April 26, 2019                     CONSUMER ATTORNEY ADVOCATES
24                                            By: s/ Patric A. Lester
25                                            Patric A. Lester

26                                            KEOGH LAW, LTD
27                                            By: s/ Timothy J. Sostrin
                                              Timothy J. Sostrin (PHV pending)
28                                            Attorneys for Plaintiff

                                                   5
                                               COMPLAINT
